                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )       CASE NO. 1:09-CR-181
        v.                                     )
                                               )       Chief Judge Curtis L. Collier
 KEVIN THOMPSON                                )


                                             ORDER

        On October 25, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to distribute and manufacture 5 grams

 or more of methamphetamine (actual) and 50 grams or more of a mixture and substance containing

 methamphetamine, in violation of 21 USC §§ 846, 841(a)(1) and 841(b)(1)(B), in exchange for the

 undertakings made by the government in the written plea agreement; (b) the Court adjudicate

 Defendant guilty of the charges set forth in the lesser included offense in Count One of the

 Indictment; (c) that a decision on whether to accept the plea agreement be deferred until sentencing;

 and (d) Defendant shall remain in custody pending sentencing in this matter (Court File No. 834).

 Neither party filed an objection within the given fourteen days. After reviewing the record, the

 Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

 ACCEPTS and ADOPTS the magistrate judge’s report and recommendation pursuant to 28 U.S.C.

 § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to the lesser included offense in Count One of the Indictment,1

 in exchange for the undertakings made by the government in the written plea agreement, is



        1
         Superceding Indictment


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 ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

 offense in Count One of the Indictment2;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday, March

 17, 2011, at 9:00 am.

        SO ORDERED.

        ENTER:


                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




        2
         Superceding Indictment

                                               2


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